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                           EXHIBIT C

   Second R. Kraft E-Mail Correspondence dated August 31, 2021
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Roger Higgins

From:                               Rune Kraft <rk@kraft.legal>
Sent:                               Tuesday, August 31, 2021 3:16 PM
To:                                 Roger Higgins
Cc:                                 'James O'Neill'; 'Patricia Cuniff'
Subject:                            RE: Motion for Civil Contempt


Mr. Higgins,
I have not been served with a summons and I have never executed a waiver of service.
Thanks,
Rune


From: Roger Higgins <rhiggins@rogerhigginslaw.com>
Sent: Tuesday, August 31, 2021 5:17 PM
To: rk@kraft.legal
Cc: 'James O'Neill' <JONeill@pszjlaw.com>; 'Patricia Cuniff' <pcuniff@pszjlaw.com>
Subject: RE: Motion for Civil Contempt

Mr. Kraft,
I understand.
But that said, please let me draw your attention to Fed. R. Bankr. P. 7004(f), which states that the Bankruptcy Court does
indeed have personal jurisdiction over you. Here is the relevant provision:
        (f) Personal jurisdiction. If the exercise of jurisdiction is consistent with the Constitution and laws of the United
        States, serving a summons or filing a waiver of service in accordance with this rule or the subdivisions of Rule 4
        F.R.Civ.P. made applicable by these rules is effective to establish personal jurisdiction over the person of any
        defendant with respect to a case under the Code or a civil proceeding arising under the Code, or arising in or
        related to a case under the Code.
Fed. R. Bankr. P. 7004(f).
Please note that if you fail to file the dismissal pleading required by the Bankruptcy Court’s August 26 Order, Grace will
file a supplemental pleading informing the court of you continuing violation of the court’s orders.
Your e-mail response stating you will not attend the hearing will also be attached to that supplemental pleading.
Warmest Regards. R

Roger J. Higgins
THE LAW OFFICES OF ROGER HIGGINS, LLC
516 N. Ogden Ave
Suite 136
Chicago, IL 60642
United States
Tel: (312) 480-1984
e-mail: rhiggins@rogerhigginslaw.com
                                                      www.rogerhigginslaw.com
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above. Any disclosure, distribution, copying or use of the information by others is strictly prohibited. If you have received this
message in error, please notify the sender by immediate reply and delete the original message. Thank you.

                                                                1
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From: Rune Kraft <rk@kraft.legal>
Sent: Tuesday, August 31, 2021 2:10 PM
To: Roger Higgins <rhiggins@rogerhigginslaw.com>
Cc: 'James O'Neill' <JONeill@pszjlaw.com>; 'Patricia Cuniff' <pcuniff@pszjlaw.com>
Subject: RE: Motion for Civil Contempt


Mr. Higgins,
I hereby acknowledge receipt of the documents. There is no need to send me the court filings by next-day mail
service or any other kinds of mail service.
You may inform the Delaware based Article I court that I do not consent to its jurisdiction, and that I will not
participate in any activities at the court.
Thanks,
Rune


From: Roger Higgins <rhiggins@rogerhigginslaw.com>
Sent: Tuesday, August 31, 2021 4:59 PM
To: Rune Kraft <rk@kraft.legal>
Cc: 'James O'Neill (jo'neill@pszjlaw.com)' <jo'neill@pszjlaw.com>
Subject: Motion for Civil Contempt

Mr. Kraft,
Please find attached the Reorganized Debtor’s Emergency Motion for an Order Finding That Rune Kraft Is In Contempt
of This Court By Having Willfully and Knowingly Violated This Court's Confirmation Order and Its Order of August 26,
2021 [Docket No. 33256] By Filing a Motion for an Article III Court's Review of the Court's August 26 Order [Docket no.
33259] (the “Contempt Motion”) and the related Motion to Shorten Notice Period and Schedule Hearing on The
Reorganized Debtor's Emergency Motion for an Order Finding That Rune Kraft Is In Contempt of This Court By Having
Willfully and Knowingly Violated This Court's Confirmation Order and Its Order of August 26, 2021 [Docket No. 33256]
By Filing a Motion for an Article III Court's Review of the Court's August 26 Order [Docket no. 33260].
Please note that Grace has requested a hearing date of 10:00 am ET, September 8, 2021. The hearing likely will be
telephonic. Once the order to shorten notice has been signed, we will send you a copy, which will have the actual hearing
date.
You will also be receiving e-mail and next-day mail service.
Warmest Regards. R

Roger J. Higgins
THE LAW OFFICES OF ROGER HIGGINS, LLC
516 N. Ogden Ave
Suite 136
Chicago, IL 60642
United States
Tel: (312) 480-1984
e-mail: rhiggins@rogerhigginslaw.com
                                                      www.rogerhigginslaw.com
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